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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION


UNITED STATES OF AMERICA                                                     PLAINTIFF

VS.                               NO. 4:13MJ6010-BD-2

JEAN-MARC CHENIER                                                          DEFENDANT

                                        ORDER

      Defendant’s motion for entry of appearance (Docket entry #13) is GRANTED.

Robert E. Tellez is hereby substituted as retained counsel for Jean-Marc Chenier, in place

of Christopher Tarver, who was recently appointed by the Court.

      DATED this 23rd day of April, 2013.




                                         UNITED STATES MAGISTRATE JUDGE
